      Case 4:17-cv-00285-MW-CAS Document 23 Filed 01/28/18 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION
LIONEL LEONARD AND BARBARA
LEONARD,

      VS                                                 CASE NO. 4:17cv285-MW/CAS

GEICO GENERAL INSURANCE
COMPANY,

                                      JUDGMENT



      The parties are ordered to comply with their settlement agreement. The court

reserves jurisdiction to enforce the order to comply with the settlement agreement. All

claims in this case are voluntarily dismissed with prejudice under Federal Rule of Civil

Procedure 41.

                                         JESSICA J. LYUBLANOVITS
                                         CLERK OF COURT


January 28, 2018                         s/Pam Lourcey
DATE                                     Deputy Clerk: Pamela Lourcey
